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 9                              UNITED STATES DISTRICT COURT
10                                     DISTRICT OF NEVADA
11

12   UNITED STATES OF AMERICA
13                    Plaintiff ,                        Case No. 2:11-CR-00347-KJD-CWH
14   v.
                                                         ORDER
15   HENRI WETSELAAR, M.D.,
16                Defendant.
17

18           Presently before the Court for consideration is Defendant, Dr. Henri Wetselaar’s Motion for
19   Reconsideration Regarding Court’s Granting of Government’s Motion in Limine (#305) to which the
20   Government responded in opposition (321).
21          This Motion is an objection to the Government’s Motion in Limine (#294) which was filed as
22   a response to Defendant’s Notification to the Court of his intent to present evidence regarding
23   patients at trial (#176). Specifically, Defendant notified the Court of his intention to present evidence
24   pertaining to:
25

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 1          1.       Patients who violated the written agreement that provided (sic) by Dr. Weselaar and

 2                   that they signed regarding the terms and conditions of their treatment (non-

 3                   compliant);

 4          2.       Patients treated by Dr. Wetselaar who did not receive controlled substances prior to

 5                   the execution of the search warrant in August 2010;

 6          3.       Patients who were prescribed controlled substances by other doctors prior to the time

 7                   the patients were seen by Dr. Wetselaar;

 8          4.       Patients treated by Dr. Wetselaar who were later seen and accepted by other

 9                   physicians who prescribed controlled substances to those same patients; and

10          5.       Evidence that pharmacies other than Lambs (sic) filled Dr. Wetselaar’s prescriptions

11                   during the time period alleged in the Criminal Indictment.

12          The government conceded that the evidence described in numbers 1, 2, and 5 listed above is

13   potentially relevant and possibly admissible at trial. However, the Government opposes the

14   admission of evidence listed in numbers 3, and 4 above on the basis of irrelevance.

15          Defendant’s Motion cites five sources of authority, however, this authority does not relieve

16   the Defendant of the obligation to independently evaluate patients. Additionally, Defendant is not

17   charged under the statutes listed, NRS 453.1545 and NRS 639.23507(1), the purpose of which is to

18   prevent a physician from over-prescribing medication, not to allow a physician to rely on the fact that

19   someone else has found it appropriate. Introduction of this evidence is likely to confuse the jury.

20          The Government does not object to the introduction of evidence pertaining to the State of

21   Nevada’s Prescription Monitoring Program (PMP) which is available for a physician to access if:

22               1) they suspect a patient has a drug addiction problem; 2) if the patient is new to the
                 practitioner and is requesting a controlled substance prescription and 3) if an existing
23               patient is requesting a controlled substance and the practitioner has not checked with the
                 State’s PMP within the last 12 months for this patient.
24

25 Evidence based on this statute is separate and apart from the request to introduce information

26   regarding patients seeing other doctors.

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 1          Accordingly, IT IS THEREFORE ORDERED that Defendant’s Motion for Reconsideration

 2   Regarding Court’s Granting of Government’s Motion in Limine (#305) is denied, in part;

 3          IT IS FURTHER ORDERED that Defendant is permitted to introduce evidence pertaining to

 4   the State of Nevada’s Prescription Monitoring Program, subject to the foregoing limitations.

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 8                       9th
            DATED this _______ day of September
                                          ember 2016
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11                                               Kent J. Dawson
                                                 United
                                                 U it d States
                                                         St t District
                                                               Di t i t Judge
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